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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x

JESUS GONZALEZ,

                                                                    CASE NO.: 1:20-CV-9196 (ER)

                                   Plaintiff,
                                                                      NOTICE OF MOTION
        -against-                                                       TO DISMISS

INN ON THE HUDSON LLC,

                                    Defendant.
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        PLEASE TAKE NOTICE, that upon the Summons and Complaint filed in this

action, the Declaration of Kevin Patel, dated March 3, 2021, and the exhibit attached to

the Declaration submitted in support of this motion, Defendant will Move this Court

before the Hon. Edgardo Ramos, at the United States Courthouse, 40 Foley Square,

Courtroom 619, New York, NY in accordance with the February 10, 2021 pre-motion

conference, for an order pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

Civil Procedure, directing the dismissal of the Complaint for lack of subject matter

jurisdiction and for failure to state a claim upon which relief can be granted, with such

other and further relief as may seem just and proper to the Court.



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Dated: White Plains, NY
       March 3, 2021


                                                Respectfully submitted,
                                                Hogan & Rossi


                                          By:

                                                _________/s/_____________
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